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                                                                        Louis V. Fasulo, Esq. NY & NJ
                                                                        Samuel M. Braverman, Esq. NY & NJ
                                                                        Charles Di Maggio, Esq. NY & CO

                                                                        www.FBDMLaw.com
                                                                        LFasulo@FBDMLaw.com



                                                                              MEMO ENDORSED, p. 2



                                                         January 11, 2021

    Hon. Sidney H. Stein
    United States District Court
    for the Southern District of New York
    500 Pearl Street
    New York, New York10007

    Re:   United States v. Lagaria Slaughter
          Case No.: 20 Cr. 112 (SHS)

    Dear Judge Stein,

          I was assigned to represent Lagaria Slaughter, who has a sentencing hearing scheduled for
    January 28, 2021. In order to provide additional time for receipt of military records pertinent to Mr.
    Sl                                                  -month adjournment of the sentencing hearing.

          The Government has no objection to this request.

          Thank you for your attention in this matter. Should you require any further information, please
    do not hesitate to contact me.

                                                         Respectfully submitted,

                                                         s/Louis V. Fasulo
                                                         Louis V. Fasulo
                                                         Fasulo Braverman & Di Maggio, LLP
                                                         225 Broadway, Suite 715
                                                         New York, New York 10007
                                                         Tel. 212-566-6213

   Cc:    Peter Davis, AUSA


225 Broadway, Suite 715                505 Eighth Avenue, Suite 300                 1086 Teaneck Rd, Ste 3A
New York, New York 10007                New York, New York 10018                   Teaneck, New Jersey 0766
Tel (212) 566-6213                          Tel (212) 967-0352                            Tel (201) 569-1595
Fax (212) 566-8165                          Fax (201) 596-2724                            Fax (201) 596-2724
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The sentencing is adjourned to February 26, 2021, at 2:00 p.m. The defense sentencing submissions are
due by February 12, 2021, the government's submissions are due by February 19, 2021.

Dated: New York, New York
       January 11, 2021
